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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

EBONE PORCH,                        )
                                    )
            Plaintiff,              )                 Case No. 21-cv-3848
                                    )
      v.                            )                 Hon. Steven C. Seeger
                                    )
UNIVERSITY OF ILLINOIS AT           )
CHICAGO, SCHOOL OF MEDICINE,        )
                                    )
            Defendant.              )
____________________________________)

                          MEMORANDUM OPINION AND ORDER

       Calvita Frederick, counsel for Plaintiff Ebone Porch, filed a motion to alter or amend the

judgment, and the filing was more than a little tart. Along the way, counsel accused this Court of

signing whatever is put in front of it. “[A] careful analysis of this Court’s Order reveals that

whoever wrote it, possibly not Your Honor who, being busy as he is, may have simply signed the

Order,” made a bunch of errors. See Mtn., at 14 (Dckt. No. 33).

       Frederick went out of her way to tell this Court about the mischief that is happening

above its signature. Counsel alerted this Court that its decision “will may well [sic] be reversed

on appeal,” and she sounded a clarion call “to the extent that this very busy Court might have

relied on a clerk to write the Order or used a Proposed Order written by counsel for the

Defendant as a basis for its ruling.” Id.

       The flavor of the filing left this Court with a sour taste in its mouth. So, this Court

extended counsel an invitation to simmer down, take a deep breath, and submit a filing with a

tone that is more fitting for federal court. See 3/9/23 Mem. Opin. and Order (Dckt. No. 34).
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       Counsel responded by asking for more time, and she offered an explanation for the

acidity of her original filing. The motion to alter or amend the judgment, we are told, was not

written by Calvita Frederick at all. “Counsel elicited the help of outside counsel to assist with

the preparation of certain pleadings. Obviously, counsel did not read the motion closely enough

before filing.” See Mtn. for Additional Time, at 1 (Dckt. No. 35). But she conceded that “the

pleading is over the signature of Calvita J. Frederick,” so she is “solely responsible for its

content.” Id.

       So, counsel engaged in ghost-writing when she accused this Court of . . . wait for it . . .

ghost-writing.

       There is joy in irony.

       The Court grants the motion for more time. See Mtn. (Dckt. No. 35). Counsel later filed

a proposed draft of a revised version of the motion to alter or amend the judgment. She attached

the draft as an exhibit to two later-filed motions. See Mtn. for Leave to File Plaintiff’s Amended

Mtn. to Alter or Amend the Judgment (Dckt. No. 36); Mtn. for Leave to File Plaintiff’s

Corrected Amended Mtn. to Alter or Amend the Judgment (Dckt. No. 38). The Court grants

Plaintiff leave to file, as a freestanding docket entry, an amended motion to alter or amend the

judgment by June 30, 2023.

       Separately, by June 30, 2023, counsel must file a statement that identifies the would-be

ghost. It has the distinct feel of a Scooby-Doo-level whodunit mystery in the making.




Date: June 27, 2023

                                                       Steven C. Seeger
                                                       United States District Judge



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